Case 1:16-cv-24687-KMW Document 280 Entered on FLSD Docket 09/25/2018 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

               CIVIL TRIAL MINUTES FOR JUDGE DONALD L. GRAHAM

   Date:9/25/2018       Day#1            Case 16-24687-CV-WILLIAMS(SEITZ)


   CRD: C. Foster & G. Gomez            Court Reporter: G. Powers


   PARTIES: EDGARDO LEBRON v. ROYAL CARIBBEAN CRUISES, LTD.,

   PLTF. ATTORNEYS                                 DEFT. ATTORNEYS
  Spencer M. Aronfeld, Raul Delgado,                Darren Friedman &      Rachel
  Matthais M. Hayashi & Javier Perez,                                    Fagenson,
                                           .
  /    /   /   am/pm    Trial Commenced - Jury
  9/25/2018/         Statement of case to jury - voir dire
  9/25/2018            Jury impaneled & Sworn
  _____/       am/pm    Trial Commenced - Non-Jury

  X    / Trial Continued until Tuesday, 9/26/2018    @ 10:00 a.m.
   ____/   Jury returned verdict in favor of ____________________. See verdict form
  _____/   Court trial continued to ___________________________at_____________am/pm
  _____/   Court trial concluded.




  Panel brought into Court sworn & Voir Dire begins & Jury
  selection completed; Jury panel sworn for trial and the Court
  gave preliminary instructions to the jury and advised them of
  start time tomorrow at 10:00a.m.;
